                         UNITED STATES BANKRUPTCY COURT
                                  District of Arizona


   RE:                                      )
                                            )     Case No. 2:15-bk-07625-DPC
            Anne Catherine Derouin          )
                                            )     Chapter - 7
                         Debtor(s)          )



                 ORDER GRANTING APPLICATION FOR PAYMENT OF
                             UNCLAIMED FUNDS


        On June 29, 2020, an application was filed for the Claimant(s), Dilks & Knopik, LLC as
assignee to Anne Catherine Derouin, debtor for payment of unclaimed funds deposited with the
court, pursuant to 11 U.S.C. § 347(a). The application and supporting documentation establish
that the Claimant(s) is/are entitled to the unclaimed funds; accordingly, it is hereby
        ORDERED that, pursuant to 28 U.S.C. § 2042, the sum of $7,402.53 held in unclaimed
funds be made payable to Dilks & Knopik, LLC and be disbursed to the payee at the following
address: 35308 SE Center Street, Snoqualmie, WA 98065.
The Clerk will disburse these funds not earlier than 14 days after entry of this order.




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